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AO 245D (Rev. 02/18)     Judgment in a Criminal Case for Revocations
                          Sheet I

                                                                                                                    EASTERN DISTRICT ARKANSAS
                                         UNITED STATES DISTRICT COURT                                                         MAY O4 2021
                                                              Eastern District of Arkansas

              UNITED STA TES OF AMERICA
                                 v.
                                                                                                       JAMES W~ORMACK, CLERK
                                                                            Judgment in a Criminal CaseBy:       -::;::a._,
                                                                            (For Revocation of Probation or Supervised Release)
                                                                                                                                        e   EP CLERK

                       OZELLE WATSON
                                                                            Case No. 4: 18-cr-00464 KGB
                                                                            USM No. 32189-009
                                                                             MISTY BORKOWSKI
                                                                                                     Defendant's Attorney
 THE DEFENDANT:
 lil:1'   admitted guilt to violation of condition(s)       _ 1-4
                                                               _ _ _ _ _ _ _ _ _ _ of the tenn of supervision.
 •        was found in violation of condition(s) count(s)                               after denial of guilt.
 The defendant is adjudicated guilty of these violations:


 Violation Number                 Nature of Violation                                                            Violation Ended
 1                                    Failure to refrain from any unlawful use of a controlled

                                      substance and submit to drug tests as directed.                            03/06/2020
 2                                    Failure to follow the instructions of the probation officer related

                                      to the conditions of supervision.                                          10/20/2020
        The defendant is sentenced as provided in pages 2 through           ----
                                                                                6       of this judgment. The sentence is imposed pursuant to
 the Sentencing Refonn Act of 1984.
 •        The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
 fully pai_d. ,fordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
 economic circumstances.

  Last Four Digits of Defendant's Soc. Sec. No.: 9294                        05/04/2021
                                                                                                Date of Imposition of Judgment
  Defendant's Year of Birth:             1985

 City and State of Defendant's Residence:                                                              Signature of J u ~
 North Little Rock, Arkansas
                                                                             Kristine G. Baker, United States District Court Judge
                                                                                                    Name and Title of Judge
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                                                       ADDITIONAL VIOLATIONS

                                                                                                                 Violation
Violation Number                Nature of Violation                                                              Concluded
3                               Failure to participate under the guidance and supervision of the probation

                                office in a substance abuse treatment program.                                   10/19/2020
4                               Failure to pay special penalty assessment.
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                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
tenn of:

Time served.




     •     The court makes the following recommendations to the Bureau of Prisons:




     •     The defendant is remanded to the custody of the United States Marshal.

     •     The defendant shall surrender to the United States Marshal for this district:
           •    at   _________ •                       a.m.      •    p.m.    on
           •    as notified by the United States Marshal.

     •     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           •    before 2 p.m. on
           •    as notified by the United States Marshal.
           •    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                    to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                             By
                                                                                           DEPUTY UNITED STATES MARSHAL
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                        Sheet 3 - Supervised Release
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DEFENDANT: OZELLE WATSON
CASE NUMBER: 4:18-cr-00464 KGB
                                                          SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

 One (1) year.




                                                       MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               •    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.    •    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    l!f" You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    •    You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 2090 I, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    •    You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                                          STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
     your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
     different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
     and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
     from the court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
     officer within 72 hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
     officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
     or your job responsibilities), you must notify the probation officer at least IO days before the change. If notifying the
     probation officer at least IO days in advance is not possible due to unanticipated circumstances, you must notify the probation
     officer within 72 hours of becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
     been convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the
     permission of the probation officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
     that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
     nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
     without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
     may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
     contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                         Date
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                                             SPECIAL CONDITIONS OF SUPERVISION

When a bed space is available, upon notification from the probation office, the defendant must attend inpatient drug
treatment to be followed by 90 days of chemical free living.

The defendant must participate, under the guidance and supervision of the probation office, in a substance abuse
treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. Further,
he must abstain from the use of alcohol throughout the course of treatment. He shall pay for the cost of treatment at the
rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
probation office. If he is financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

All general and standard conditions previously imposed remain in full force and effect.
